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UNITED STATES DISTRICT COURT                       considered the burden that appointment of
SOUTHERN DISTRICT OF GEORGIA                       counsel on appeal would place on taxpayers.
     SAVANNAH DIVISION                             See id. Accordingly, the Magistrate Judge
                                                   recommended that this matter be deferred to
BRUCE BERNARD TOWNSEND,
                                                   this Court for plenary review. See id.
Movant,                                                Notwithstanding practical realities and
                                                   financial burdens, the case is not yet moot.
v.                      4: 10-cv-287               It is not for this Court to say whether the
                                                   Eleventh Circuit will be able to consider this
UNITED STATES OF AMERICA,
                                                   matter before Townsend is released.
Respondent.                                            A habeas petitioner claiming ineffective
                                                   assistance of counsel must demonstrate both
                   ORDER
                                                   deficient performance of counsel and
    Bruce Bernard Townsend filed this 28           prejudice to the outcome of the proceedings.
U.S.C. § 2255 motion challenging this              Strickland v. Washington, 466 U.S. 668,
Court’s revocation of his supervised release.      687, 697 (1984).
See Doc. 1. The Government moved to                   [C]ounsel has a constitutionally
dismiss on the merits. See Doc. 24. The
                                                      imposed duty to consult with the
Magistrate Judge directed the Government
                                                      defendant about an appeal when
to brief Townsend’s claim that he wanted to
                                                      there is reason to think either (1) that
appeal directly but that his attorney failed to
                                                      a rational defendant would want to
do so. See Doc. 29 at 4. The Magistrate
                                                      appeal (for example, because there
Judge also ordered the Government to brief
                                                      are nonfrivolous grounds for appeal),
the issue of mootness. See id. at 4 n.5.
                                                      or (2) that this particular defendant
    In response, the Government conceded              reasonably demonstrated to counsel
that Townsend is entitled to an appeal. See           that he was interested in appealing.
Doc. 32 at 3. The Government also stated              In making this determination, courts
that this case is not yet moot because                must take into account all the
Townsend’s projected date of release from             information counsel knew or should
prison is July 16, 2012. See id.                      have known.
   The Magistrate Judge has issued a               Roe v. Flores-Ortega, 528 U.S. 470, 480
Report and Recommendation (“R&R”)                  (2000). “[T]o show prejudice in these
determining that this matter is effectively        circumstances, a defendant must
moot in light of the “practical realities of the   demonstrate that there is a reasonable
appellate process.” See Doc. 33 at 3. The          probability that, but for counsel's deficient
Magistrate Judge reasoned that the Eleventh        failure to consult with him about an appeal,
Circuit almost certainly would not be able to      he would have timely appealed.” Id. at 484.
resolve Townsend’s case before July 16,
                                                        Here, Townsend is entitled to habeas
2012. See id. The Magistrate Judge also
                                                   relief.    Townsend pled not guilty to
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allegations that he violated his supervised           days, which is dictated by Rule
release. See United States v. Townsend,               4(b)(1 )(A)(i).
4:98-cr-106, Doc. 779 (S.D. Ga. Feb. 16,
2010). Upon having the supervised release         United States v. Phillips, 225 F.3d 1198,
portion of his sentence revoked, Townsend         1201 (11th Cir. 2000). Accordingly, the
indicated his discontent by filing an             Court VACATES Townsend’s Judgment for
objection to his sentence a mere two days         Revocation of Supervised Release in his
                                                  criminal case. See Townsend, 4:98-cr-106,
after receiving it on the basis that it
                                                  Doc. 780. The Court ORDERS the Clerk of
exceeded the upper level of his advisory
                                                  the Court to enter a new Judgment imposing
guideline range. See id., Doc. 781. Despite
                                                  the same terms as originally imposed,
Townsend’s objection, Townsend’s counsel
failed to consult with Townsend about an          identical in all respects to the original
appeal. See Doc. 32-1 at 2. There is a            Judgment, save only for the date of entry.
reasonable probability that, had Townsend’s           The Court specifically advises
counsel consulted Townsend about an               Townsend that the entry of the new
appeal, Townsend would have timely                judgment creates a fourteen-day period
appealed. The Government agrees that              within which Townsend may prosecute a
Townsend’s attorney rendered ineffective          direct appeal of his criminal conviction.
assistance and that Townsend is entitled to       Thus, Townsend has fourteen (14) days
an out-of-time appeal. See Doc. 32 at 3.          from the date of the reimposition of his
   Accordingly, the Court ADOPTS the              sentence to file a timely appeal. See F ED. R.
                                                  APP. P. 4(b)(1)(A)(i). The Clerk is
R&R deferring the matter to this Court and
determines that Townsend is entitled to an        DIRECTED to make arrangements for the
out-of-time appeal. The Eleventh Circuit          appointment of counsel.
has established a procedure for district
courts to follow upon allowing out-of-time        This 14th day of June 2012.
appeals as a § 2255 remedy:
   (1) the criminal judgment from
   which the out-of-time appeal is to be              )7
   permitted should be vacated; (2) the            4 86' L^4
                                                           ^' 1a-- L :
                                                     AVANT DENFIELØ, JUDGI
   same sentence should then be                    UNiTED STATES DISTRICT COURT
   reimposed; (3) upon reimposition of             SOUTHERN DISTRICT OF GEORGIA
   that sentence, the defendant should
   be advised of all the rights associated
   with an appeal from any criminal
   sentence; and (4) the defendant
   should also be advised that the time
   for filing a notice of appeal from that
   re-imposed sentence is [fourteen]


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